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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CONCERNED CITIZENS AROUND * CIVIL ACTION

MURPHY
* NO. 08-4986
Vv.
* SECTION “R”
MURPHY OIL USA, INC. JUDGE SARAH S. VANCE
MAGISTRATE 2
* MAG. JOSEPH C. WILKINSON
AFFIDAVIT OF LEWIS STRATE
STATE OF ARKANSAS
COUNTY OF UNION

Before me, the undersigned authority, came and appeared LEWIS STRATE, who
first being duly sworn did depose and say as follows:

1. My name is Lewis Strate. | am the Manager of Corporate insurance at
Murphy Oil Corporation and work at its corporate headquarters in E! Dorado, Arkansas.
Murphy Oil Corporation provides certain corporate general and administrative services
for its subsidiary companies, including Murphy Oil USA, Inc.

2. In connection with my job at Murphy, | was responsible for working on and
participating in the handling of the class action lawsuit filed against Murphy by residents
of St. Bernard Parish, Louisiana for damages allegedly caused by the crude oil spill that

occurred after Hurricane Katrina. My duties included overseeing Murphy's fulfillment of

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its settlement obligations, including obtaining. and effecting payment of settlement funds
to members of the class and managing the buy-out aspect of the class action
settlement.

3. Based upon my records, and my knowledge of the class action
proceedings, Suzanne Kneale participated in the settlement of the class action as a
class member and collected a total amount of $20,000.

4. Following the approval and implementation of the settlement, including the
buy-out of 480 properties in the area closest to the refinery, Ms. Kneale in effect
launched her objection to the settlement on the basis that the bought-out property was
not being used to her personal satisfaction,

5, Ms. Kneale’s objections, lodged in the form of internet biogs, statements
at public meetings and to the media, and appearances in court, included:

a. opposing the Parish's participation in the settlement's buy-out program
and Murphy’s donation of a large plot of land to the St. Bernard Parish
Fire Department for construction of a new fire station and fire training
facility in the neighborhood;

b. opposition to the creation of a linear park containing a walking track,
recreational facilities, landscaping and other elements of public benefit
in the neighborhood; and

c. the construction of a $5 million state-of-the-art laboratory in St
Bernard, a parish starved for economic development.

6. In addition, | am aware that Ms. Kneale has personally attacked the

integrity of the court system, counsel for Murphy and Sidney Torres, counsel for the
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class action plaintiffs, on various websites including nola.com because they negotiated
and approved the class action settlement agreement, including the buy-out provisions,
which Ms. Kneale wanted to control the use of, but was not permitted to de so.

7. Attached are examples of Ms. Kneale’s accusations against Murphy from
the nola.com St. Bernard Parish blog site:

Attachment 1 is Ms. Kneale’s entry on June 28, 2008, wherein she implies
that the court system has been dishonest: “some say if you don’t have the right
lawyers the judge will not be fair.”

Attachment 2. In her entry for October 7, 2007, Ms. Kneale accused
Murphy of controlling Sidney Torres, plaintiffs’ counsel in the class action
proceedings before Judge Fallon.

Attachment 3. On March 28, 2008, Ms. Kneaie accuses Murphy of
corrupting the Parish Council and Administration with respect to use of the Buy-
Out properties.

Attachment 4. On May 7, 2008, Ms. Kneale accused Murphy's counsel,
Kerry Miller, of being dishonest to the court with respect to the buy-out zone.

Attachment 5. On April 23, 2008, Ms. Kneale accuses the “big dogs from
Murphy” of misleading the public about the “green zone buffer.”

8. Under the user name of “noboat” Ms. Kneale has made hundreds of
entries since mid 2007 complaining about Murphy's proposed possible use of the buy-
out zone properties that it purchased as part of the class action seiiement. Her

obsession with this issue began when Murphy began its process of implementing the
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buy-out in March — April of 2007. She has advocated opposition to every use proposed

by Murphy of this tand.

LEWIS STRATE

Sworn to and subscribed —
before me this 11" day
of November, 2009.

he:
Uy &

RO. MW Ver’ 6

~ NOTARY PUBLIC

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\
Go to the » St. Bernard/Plaquemines forum inappropriate *
51523.1.1.1.1.1. well __ Posts
by noboat, 6/28/08 12:03 ET

Re: lawyer by noboat, 6/28/08

E-mail This Post

some say if you dont have the right lawyer the judge will
not be fair. it would be sad if all this that is said about St » Forums Help

Bernard is true; isnt this still america? » User Agreement

» Privacy Policy

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Go to the » St. Bernard/Plaquemines forum Inappropriate 5
40719.1.1.2.1. Real Estate Transactions to Murphy Posis?

by noboat, 10/7/07 22:37 ET
Re: Hey Noboats! RE:Despaux house by noboat, 10/7/07

E-mail This Post

not published

» Forums Help
Murphy even has control over the Torres’ » User Agreement

» Privacy Policy

» Community Rules

» Contact interactivity
» RESPOND te This Message Management

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9. Hey Noboats! RE:Despaux... by bignosy, 10/7/07
1. IMHO...sell to anyone... by noboat, 10/7/07
1. | would make sure who... by boudica, 10/7/07
1. MurphyTown by missy57, 10/7/07
2. Murphy subject deleted by Miss70043, 10/7/07

> Real Estate Transactions... by noboat,
10/7/07

> Bingo by boudica, 10/8/07
2. Murphy buying north of... by parent09, 10/7/07
1. Buying Out by FNFluddle, 10/7/07
> North of twenty on... by parent09, 10/8/07

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48762.2.1.1. they can afford : 2?

by noboat, 3/28/08 11:20 ET
Re: if we move by noboat, 3/28/08

E-mail This Post

to pay us so we can move and not have a mortgage and
have the extra money over the years for the » Forums Help
homeowners insurance premiums which will be larger » User Agreement

with less cover simply because they are new policies. » Privacy Policy
» Community Rules

. vies » Contact Interactivity
Murphy will make billions of dollars at the cost of our Management

homes and neighborhood.

Why is the government participating in this? lots of
unethical action by council and administration since the
crude oil spill. resolutions to remove our sidewalks,
resolutions to ask Judge Fallon to define the buyout
area, resolutions for LRA properties to go directly to
Murphy, resolutions to ask Judge Fallon to allow
Murphy to continue to settle with the residents, council
action to allow the extention of the collins crude oil
pipeline from Murphy to Exxon within feet of homes,
closed meetings regarding the firestation, special 48
hour notice planning commission meetings.

although not all of these were successful, the active
participation of SBPG to push homeowners towards this
industry's landgrab is unethical at best

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2. if we move by noboat, 3/27/08
1. we need to sel by whervat, 3/27/08
2. me by NC325, 3/27/08
1. | really do think... by mynameizearl, 3/28/08
{. they can afford by noboat, 3/28/08
> Wow! Billions!! by Max37, 3/28/08
> Exactly Noboat by DaLandlord, 3/29/08
> yep by NC525, 3/29/08
3. Hog wash by Cacahoe, 3/28/08
1. part of the suit was the... by noboat, 3/28/08
1. no by NC525, 3/29/08

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50187.2. court ordered green zone buffer

by noboat, 5/7/08 10:00 ET
Re: Land on chalmette side of murphy by noboat, 5/7/08

as Murphy's attorney's stated to Judge in Fairness hearing. anything else is another lie
and deception on Murphy's partWhen St Bernard Parish Attorney appeared before the
council on March 6, 2007, he speaks of the agreement between Murphy Oil and SBPG to
remove sidewalks in exchange for a hold harmless agreement with Murphy Oil. When
asked by the councilwoman if what they had decided with regards to the street lights, he
states that the "street lights will remain because people still live there so it will not be a
total greenspace." Those quotes are on the dvd to the March 6, 2007 meeting if you
would like to view it. . The Resolution to remove the sidewalks

{ hitp://sbpg.net/2007resolutions.paf page 2 }

March 6, 2007 continued K228 Authorize Murphy Oil USA, Inc. to remove sidewalks,
driveways, aprons and other items (trees, shrubbery, etc.) which lie between property
lines and curbs on Jacob, Despaux, Ventura and Lena between 20 Arpent Canal & St.
Bernard Highway. ... WHEREAS, in order to provide an orderly and safe manner for the
removal of these structures and the future maintenance of the area by Murphy...,

Our recently retired honorable chairman assured residents all discussions with Murphy
were always for greenspace and most specifically the request to remove our sidewalks
was for easy maintenance of the grassy area.

In the Federal Court Fairness hearing on January 4, 2007 Murphy defense attorney
stated what the buyout property would be used for. It is this green zone for which the
judge entered his order and reasons that ....... ... The intent of the buyout program is thus
to create a buffer zone between the Murphy Oil refinery and the community and remove
the most heavily contaminated properties from residential use.

From the associated press January 4, 2007
hittp:/Avww.iht.com/articles/ap/2007/01/04/america/NA_GEN_US_Katrina_Murphy_Oil.php

Kerry Miller, a Murphy lawyer, said the area would be turned into a "green zone" to buffer
the refinery from neighborhoods.

Times-Picayune (New Orleans)January 5, 2007 FridaySECTION: METRO; Pg.
THEADLINE: Judge favors settlement in St. Bernard oil spill; Governor at hearing to back
residentsBYLINE: By Susan Finch, Staff writer

Murphy attorney Kerry Miller said the buyout price reflects "the absolute top end of the

range of real estate sales in St. Bernard” since Hurricane Katrina. Murphy wants to use
the purchased property to create a buffer zone of green space between its refinery and
residents.

"The green, green grass of our homes"

Showdown: St. Bernard Parish President - Oct. 29,2007Junior Rodriquez and Craig
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Taffaro
WDSU — http:/Avww.wdsu.com/video/144448474/index.himl

“There seems to be a name game being played between St. Bernard government,
Murphy Oil and residents adjacent to the refinery.At times the residential property bought
by Murphy is referred to as “green space” and at other times it's referred to as a "buffer
Zone".Green space implies trees, shrubs and flowers while buffer zone implies a space to
restrict something unwanted. Which is it that you will work toward."Mike

Jr. - Green space only. Council has the power and ability to pass an ordinance that that's
what it will be is green space. That's what we need.CT — Properties that are being bought
out in the buyout zone are zoned R1 which means that there can be nothing but R1
development in that area. Murphy Oil has continued to tell us and the public they're not
getting into the housing market at all, so the idea of what that property can be used for is
nothing more than what it is now and since it is not a 100% buyout at this point in time,
there will be no other development there so it will be green space. Buffer zone means that
that’s what that green space will be used

for nega sana seasaaasaesanas esa g says " five on Lena
Drive and would like to know about the 4 biock area that Murphy Oil destroyed. What are
you going to do about t he sidewalks that were pulled up and the streets that were
destroyed. Don’t beat around the bush. Give us a straight answer."John

Jr. - Should be repaired because Murphy Oil caused the problem and situation. Murphy
Oil will repair sidewalks. That’s part of public demand.CT — Where there are houses, there
will be sidewalks. Where there are complete biocks that have been purchased and will be
used as that green space in the buffer zone, those sidewalks needed to be removed for
the maintenance of that property. But what we’re talking about is where there are
residents still living between houses there will be sidewalks there. That's not an issue.
Murphy is giving us some resistance on that, but that’s exactly what we’re going to do.
Where there are residents there will be sidewalks.

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7. Land on chalmette side... by unostang1, 5/7/08
1. | mean, what are they... by unostang1!, 5/7/08
2. court ordered green zone... by noboat, 5/7/08
1. MOMR Green by noboat, 5/7/08
3. Thanks for the info by unostang1, 5/7/08

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49716.4, ditto

by noboat, 4/23/08 7:28 ET
Re: Murphy Lab by noboat, 4/23/08

Thanks to the Planning Commissioners for conducting a
respectful public hearing on all dockets yesterday....all
dockets were very emotional because IMO domiciled
residents are passionate not only about our beloved St
Bernard Parish but about assurances that our efforts
now are for a better community for future generations.

The big dogs from Murphy were the same ones shaking
hands in Fail 2005 on the south of Judge Perez
assuring residents there was no oil and there would
never be a buyout. They are the same big dogs that
stated in federal court that the buy up was for a green
zone buffer; they are the same ones who have received
a reassessment of property taxes on this green zone
buffer. These guys have stated to the council on several
occasions that the area is for a grassy green buffer--
that's why we have no sidewalks in the very area they
want to turn into their own private industrial corridor.

The big dogs from Murphy are the ones that made the
dog chasing the car statement and the herding a bunch
of cats statement.

This is how this corporation speaks about people from
St Bernard Parish. They dont bother with the white
boots and trailer comments; they go straight to their
point of view that the neighborhood is the problem. That
they cant expand because there is a residential
neighborhood there.

OMG as if.

and so far as the herding the cat phrase, | dont even
know what that means, but | will tell you that when
Murphy first started demolitions of our homes that were
full of their crude oil from their negligence, they were
sending out crews at 2am and 3 am to trap the stray
cats in the houses. What did they do with ail the katrina
cats?

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Filed 11/19/09 Page 10 py it

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6. Murphy Lab by NOMRGO, 4/22/08
1. Is this the newly by redhot123, 4/22/08
1. no by NOMRGO, 4/22/08

1.

So | guess you by redhot123, 4/22/08

> Changes coming by NOMRGO, 4/22/08
> What is a Petro Lab... by Mitchellpage,
4/22/08

> Tanks/lab by NOMRGO, 4/23/08

> Mitch by Carol82, 4/23/08

> Yes 2 Years by Dal.andlord, 4/23/08

2, Apparently by withabeard, 4/23/08
3. they are about as... by Carol82, 4/23/08
4. ditto by noboat, 4/23/08

1. [have to ask... by ChrisBi, 4/23/08

1.

April 2007 by NOMRGO, 423/08
> NOMRGO by RLaBrosse, 4/23/08

> Personal knowledge and... by NOMRGO,
4/23/08

> PS. by NOMRGO, 4/23/08
> Personal experience. by RLaBrosse, 4/23/08

> Someone was out there by ChrisBi, 4/23/08
> maybe it was by Carol82, 4/23/08
> Murphy Cats by GalloGov, 4/23/08

> so whats the problem... by bear5221,
4/24/08

> where are the pets? by noboat, 4/24/08
> this guy is a clown by bear5221, 4/24/08

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